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                      Exhibit B
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  Nationally acclaimed artist creates magical public
  display for upstate hometown
  By Mary Kay DeVore | Contributing writer | Posted November 27, 2018 at 12:45 PM | Updated November 27, 2018 at 12:45 PM




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  Photo courtesy of Alexander Green

  It's a one-of-a-kind realistic tree by day that comes alive after the sun sets with spectacular
  and mesmerizing illuminations in downtown Rochester.
  On public display at Rochester Contemporary Art Center through Jan. 1, the 30-foot tall
  Kalpa "The Wish-Fulfilling Tree" is electro-mechanically engineered and includes thousands
  of LED lights designed and created by Rochester native Alexander Green.
  "We're absolutely thrilled to host Kalpa as the latest installation in our public art program.
  Our goal is to enliven the East End neighborhood with temporary, site-specific public
  artworks," said Bleu Cease, executive director/curator of Rochester Contemporary Art
  Center.
  "This monumental sculpture will surprise the public with an unforgettable experience. The
  community has watched as Alex and his crew have worked incredibly hard on Kalpa. They
  overcame some engineering challenges and conducted many rounds of testing, and now the
  city of Rochester is excited to witness the nightly illumination."
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  Photo courtesy of Alexander Green

  The Kalpa is a prototype or artist's proof for a piece that Green has been commissioned to
  do in Oslo, Norway, for display in 2019. He currently lives in San Francisco where his design
  and technology studio Symmetry Labs is based, but he chose Rochester as the test site due
  to its similar climate to Oslo and his love for his hometown.
  The project began in the summer and took longer than expected because of unanticipated
  challenges that included constructing in a busy city-center along with moisture seeping
  through the leaves and shorting out the LED lights which resulted in the replacement of all
  12,000 leaves.
  Now up and running, visitors can enjoy this stunning display free of charge through the end
  of the year.
  Green was born in New York City but moved to Rochester when he was about 4 years old.
  He studied music at the Eastman School of Music and physics and math at the University of
  Rochester. A love of music and the arts was instilled by his parents.




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  Photo courtesy of Alexander Green

  "The reason I love music and art is because my parents valued it," said Green. "Part of what
  makes me make art is that it has gotten me through some of the toughest times in my life --
  tragedy, heartbreak, and loneliness. I hope Kalpa impacts people with levity and wonder."
  Being drawn to mythology and Eastern and Hindu mystical cultures was the reason Green
  decided on the name Kalpa, "The Wish-Fulfilling Tree" as it is derived from Kalpavriksha
  otherwise known as "Tree of Life" in ancient Vedic scriptures. His hope is that those who
  visit find inspiration and solace.
  Green established Symmetry Labs in 2014, a company he says is a design studio and
  technology company wrapped in one. It began after building light art projects with friends.
  He loved it and found there was a market for it.
  "There's an old saying that if you find something you love, you won't work a day in your life,"
  said Green, whose work has been featured at Burning Man, Renwick Gallery in Amsterdam,
  music videos, the Smithsonian Museum and the Super Bowl.




  If you go:
  Free Public Art
  Kalpa "The Wish-Fulfilling Tree"
  Nov. 12-Jan. 1
  Nightly illuminations sunset to 10:30 p.m.
  Rochester Contemporary Art Center
  Main Gallery 137 East Ave. Rochester, NY 14604 (585) 461-2222
  Website

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